               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )     Criminal No. 3:11-00082
                                                    )     Judge Trauger
                                                    )
[17] SPENCER RANDOLPH                               )


                                        ORDER

       It is hereby ORDERED that the sentencing scheduled for Monday, August 27, 2012, at

2:00 p.m. is RESET for the same day at 11:00 a.m.

       It is so ORDERED.

       ENTER this 20th day of August 2012.


                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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